                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION
United States of America

                      Plaintiff                             Case No. 3:19-mj-498

-vs-                                                         Judge Thomas M. Rose

Ethan Kollie

                       Defendant


       ENTRY AND ORDER DENYING DEFENDANT’S MOTION/APPEAL (Doc. 18)


        This matter comes before the Court pursuant to the Defendant’s Appeal (Doc. 18) of the

denial of his Motion to Revoke or Amend the Magistrate Judge’s Order of Pretrial Detention (Doc.

16). The Court having conducted a de novo review of the record in this matter, including a

transcript of the detention hearings held before Magistrate Judge Michael Newman, DENIES the

Defendant’s Motion (Doc. 15)/Appeal (Doc. 18).

        An individual ordered detained by a magistrate judge may file a motion to revoke or amend

the detention order in the district court under 18 U.S.C. 3145 (b). The district court must

“promptly” review the magistrate judge’s order committing the defendant to detention. In

reviewing such an order, the Court gives no deference to the magistrate judge’s factual findings, but

reviews them de novo. The Court is not required to hold a new evidentiary hearing.

        Federal Rule of Criminal Procedure 46 provides that 18 U.S.C. 3142 governs a defendant’s

detention before trial. Section 3142 provides that a person awaiting trial should be detained if the

judicial officer finds that no condition or combination of conditions will reasonably assure the

appearance of the person or the safety of any other person and the community.

        Here the Government initially moved to detain the Defendant on August 9, 2019, alleging

that he was a flight risk and a danger to the community. On August 15, 2019 the Magistrate Judge
granted the Government’s Motion. Defendant filed, on August 23, 2019, a Motion for the

Revocation of the Detention Order (Doc. 15). The Magistrate Judge, considering the filing a

motion to reconsider, denied said motion. Defendant has now filed what has been captioned an

“Appeal” which this Court will consider a Motion to Revoke or Amend Original Detention Order

(Doc. 18) as provided by 18 U.S.C. 3145(b).

       Magistrate Judge Newman, based upon testimony and argument in two hearings found that

no condition or combination of conditions will reasonably assure the appearance of the Defendant

and the safety of any other person and the community. Upon review of the Government’s and

Defendant’s memorandum of law and the transcript of the proceedings before Magistrate Judge

Newman at that time, this Court affirms the Magistrate Judge’s findings and order.

        Combined with the allegations and circumstances surrounding the charges against the

Defendant, including the possession of numerous firearms, his admitted regular drug use of

marijuana and psychedelic mushrooms which he grew in his residence as well as concerns as to the

Defendant’s mental health, this Court finds that the Defendant is a danger to himself and others. The

Court also finds that the proposed alternatives to detention do not, as proposed, adequately address

and mitigate said danger.

       In conclusion, having conducted a de novo review of the record, including a review of the

 transcript of the detention hearing before Magistrate Judge Newman, the Court finds that no

 condition or combination of conditions will reasonably assure the safety of the community should

 Defendant be released. Therefore, the Court DENIES the Defendant’s motion/appeal (Doc. 18).

 IT IS SO ORDERED.


September 27, 2019                            *s/Thomas M. Rose
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                                              Thomas M. Rose, Judge
                                              United States District Court
